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                        IN TIIE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                              ) Chapter 11

THE WALKING COMPANY IIOI,DINC7S, ) Case No.: 18-10474(LSS)
INC., et al.,l                   )
                                   Jointly Administered
                 Debtors.        ) Re: Docket No. 441

CERTIFICATION OF COUNSEL REGAKDIN(G REQRGANIZED DEBTORS'SECOND
          GI~Ii'~1I~TJ~ ~B.~~C~~~3N ANON-~ITY3~TA1~T~'IV~~ TD ~~RTA~N
  (I) AMENDED CLAIMS,AND (II)INSITFFICIENT DOCUMENTATION CLAIIYIS

         The undersigned counsel for the above-captioned reorganized debtors and debtors-in-

possession (the "Reorganized Debtors") hereby certifies that:

         1.      On September 24, 2018, the Reorganized Debtors filed with the United States

Bankruptcy Court for the District of Delaware (the "Court") the Reorganized Debtors' Second

Omnibus Objection (Non-Substantive) to CeNtain (I) Amended Claims and (II) Insufficient

Documentation Claims [Docket No. 441](the "Claims Objection").

         2.      Responses to the Claims Objection were to be filed on or before 4:00 p.m.

(Eastern Time)on October 9, 2018 (the "Response Deadline").

         3.      Prior to the Response Deadline, the Reorganized Debtors received informal

comments from Tarrant Country. The Reorganized Debtors have agreed to withdrawal the claim

objection with respect to Tarrant County, which resolves the informal comments.




' The Debtors and the last four digits of their respective taxpayer identification numbers include: The Walking
  Company Holdings, Inc. (8665); The Walking Company (2061); Big Dog USA,Inc. (5316); and FootSmart, Inc.
  (9736). The headquarters and service address for the above-captioned Debtors is 25 W. Anapamu, Santa Barbara,
  CA 93101.
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         4.    The Reorganized Debtors have not received any other responses or objections to

the Claims Objection, and no other responses or objections appear on the Court's docket in these

cases.

         5.    The Reorganized Debtors have revised the proposed order and the applicable

exhibit (the "Proposed Order") to remove the claim of Tarrant Country from the Amended

Claims Exhibit. A copy of the Proposed Order is attached hereto as Exhibit A.

         6.    A blacklined copy of the Proposed Order is attached hereto as Exhibit B showing

changes made from the proposed order filed with the Claims Objection.

         WHEREFORE, the Reorganized Debtors respectfully request that the Court enter the

Proposed Order, substantially in the form attached hereto as Exhibit A at the convenience of the

Court.

Dated: October 10, 2018                 PACHULSKI STANG ZIEHL &JONES LLP

                                        /s/ Joseph M. Mulvihill
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                                        Attorneys for Debtors and Debtors in Possession
